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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

CARY A. ZOLMAN,                                  §
                                                 §
     Plaintiff,                                  §
                                                 §            Civil Action No. 4:17-cv-989
v.                                               §
                                                 §
MARK SULLIVAN and ADRIENNE                       §
SULLIVAN, FEDERAL NATIONAL                       §
MORTGAGE ASSOCIATION (“FANNIE                    §
MAE”), SETERUS, INC., and 1 OR 2                 §
JOHN DOES                                        §

     Defendants.

                                   NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1446(a), Defendants Federal National Mortgage Association

(“Fannie Mae”) and Seterus, Inc. (“Seterus” and together with Fannie Mae as “Defendants”) file

this notice of the removal of this action from the 96th Judicial District Court for Tarrant County,

Texas. Defendants submit this Notice in support of their removal. Removal is based on the

ground that diversity jurisdiction exists over this action because there is complete diversity

between Plaintiff and Defendants and the amount in controversy exceeds $75,000.00.

Defendants respectfully show as follows:

                                       INTRODUCTION

          1.      On or about September 21, 2017, Plaintiff originally filed this suit, bearing

 Cause No. 096-295070-17 and styled Cary A. Zolman v. Mark Sullivan and Adrienne Sullivan,

 et al. in the 96th Judicial District Court for Tarrant County, Texas (the “State Court Action”). A

 true and correct copy of the Docket Sheet from the State Court Action is attached hereto as

 Exhibit-A. In accordance with 28 U.S.C. Section 1446(a), copies of all process, pleadings, and



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orders served in the State Court Action, including the Petition, are attached hereto within the

contents of Exhibit-B.

       2.      The allegations in the Amended Petition relate to a deed of trust and foreclosure

proceedings on Plaintiff’s real property located at 668 Bear Creek Drive, Hurst, Texas 76054

(the “Subject Property”). (See Pl’s Pet. at ¶¶ 15-45). In the Petition, Plaintiff asserts the

following claims: (1) The Atterstrom Consulting Group had No License to be a Lender in

Texas; (2) No Jurisdiction to Foreclose; (3) Sullivans are not Bona Fide Purchasers; (4) Fraud;

(5) Unjust Enrichment; and (6) Declaratory Judgment. (See Pl’s Pet. at ¶¶ 46-117). For these

alleged wrongs, Plaintiff seeks a declaration from the Court that Plaintiff is the “sole owner of

the property and title is vested in him and his wife.” (Id. at ¶¶ 11-12).

       3.      This Notice of Removal is timely because thirty (30) days have not expired since

either Defendant was properly served, making removal proper in accordance with 28 U.S.C.

Section 1446(b).

       4.      This action is removable to federal court pursuant to 28 U.S.C. Section 1441

because it could have been filed originally in this Court pursuant to the diversity jurisdiction

conferred by 28 U.S.C. Sections 1331 and 1332.

                   BASIS FOR REMOVAL – DIVERSITY JURISDICTION

      A.      There is complete diversity among all parties.
       5.      There is diversity jurisdiction in this Court because there is complete diversity of

citizenship between Plaintiff and Defendants, and more than $75,000 is in controversy,

exclusive of interest and costs. See 28 U.S.C. § 1332.

       6.      Plaintiff is a citizen of Texas. (See Pl’s Pet. at ¶¶ 1-2).

       7.      Fannie Mae is a government-sponsored enterprise existing under the laws of the

United States of America with its principal place of business in Washington, District of


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Columbia (“D.C.”). Fannie Mae is deemed to be a D.C. corporation. 12 U.S.C. § 1717(a)(2)(B).

Therefore, Fannie Mae is a citizen of D.C.

       8.      Defendant Seterus, Inc. is a Delaware corporation with its principal place of

business in North Carolina, making it a citizen of Delaware and North Carolina for diversity

purposes.

       9.      Defendants Mark Sullivan and Adrienne Sullivan (the “Sullivans”) are residents

of Texas and reside at 701 Trails End Circle, Hurst, Texas 76054. Although, the Sullivans, like

Plaintiff, are residents of Texas, they have been improperly joined as defendants.

       10.     Improper joinder constitutes a narrow exception to the rule of complete diversity

required for removal. Cuevas v. BAC Home Loans Servicing, LP, 648 F.3d 242, 249 (5th Cir.

2011). The citizenship of a non-diverse defendant may be disregarded for the purpose of

analyzing complete diversity if that non-diverse defendant was improperly joined. Id. To

establish that a defendant was improperly joined, the removing party must show either: “'(1)

actual fraud in the pleading of jurisdictional facts, or (2) inability of the plaintiff to establish a

cause of action against the nondiverse party in state court.'“ Smallwood v. Ill. Cent. R.R. Co.,

385 F.3d 568, 573 (5th Cir. 2004) (en banc) (quoting Travis v. Irby, 326 F.3d 644, 646-47 (5th

Cir. 2003)).

       11.     The Plaintiff has alleged in his Original Petition that the Sullivans were not bona

fide purchasers of the Property because the Property was encumbered by IRS liens. (See Pl’s

Pet. at ¶¶ 78-85).

       12.     To predict whether a plaintiff has a reasonable basis of recovery under state law,

the Court may either: (1) conduct a Rule 12(b)(6)-type of analysis to determine whether the

allegations in Plaintiffs' state court petition state a claim under the applicable state law against




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the non-diverse defendants; or (2) pierce the pleadings and conduct a summary inquiry to

identify the presence of discrete and undisputed facts that would preclude Plaintiffs' recovery

against the in-state defendants. Gibson v. Liberty Ins. Corp., No. 3:16-CV-3099-B, 2017 U.S.

Dist. LEXIS 120773, at *15-16 (N.D. Tex. July 31, 2017) (citing Smallwood, 385 F.3d at 573-

74.) The latter approach, however, is disfavored, as it “carries a heavy risk of moving the court

beyond jurisdiction and into a resolution of the merits.” Id.

       13.     To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not akin to a

'probability requirement,' but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id.

       14.     In this instance, the claim against the Sullivans is not plausible. The Plaintiff

argues that the Sullivans were not bona fide purchasers because there were IRS liens filed

against the Property. (Pl’s Amd. Pet. at ¶¶78-84). Plaintiff’s claim is not legally feasible

because “bona fide purchaser” status is an affirmative defense, not a cause of action to be

asserted against a third-party. See Patton St. Corp. v. Nab Asset Venture II, L.P., NO. 01-00-

00144-CV, 2002 Tex. App. LEXIS 1541, at *23 (App. Feb. 28, 2002) (“Bona fide purchaser

status is an affirmative defense.”) (citing Madison v. Gordon, 39 S.W.3d 604, 605 (Tex. 2001)).

       15.     Further, Plaintiff lacks standing to assert his claims against the Sullivans. To

establish standing the Court must be satisfied that “the plaintiff has alleged such a personal




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stake in the outcome of the controversy as to warrant his invocation of federal-court

jurisdiction.” See Summers v. Earth Island Institute, 555 U.S. 488, 493, 129 S. Ct. 1142, 173 L.

Ed. 2d 1 (2009). Standing requires that a plaintiff demonstrate the “irreducible constitutional

minimum of standing,” which is comprised of the following three elements: “First, the plaintiff

must have suffered an injury in fact—an invasion of a legally protected interest which is (a)

concrete and particularized, and (b) actual or imminent, not conjectural or hypothetical[.]

Second, there must be a causal connection between the injury and the conduct complained of—

the injury has to be fairly . . . trace[able] to the challenged action of the defendant, and not . . .

th[e] result [of] the independent action of some third party not before the court. Id. (internal

quotation marks and citations omitted). Third, it must be likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision.” Moore v. Bryant, 853

F.3d 245 248-49 (5th Cir. 2017) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)

(internal quotations and citations omitted)).

       16.     Here, Plaintiff no longer holds any interest in the Property, has not suffered any

injury that could have resulted from, and has no personal stake in the outcome of his claim that

the Sullivans acquired the Property subject to the IRS liens. Therefore, he lacks standing to

assert this claim.   Accordingly, the Plaintiff’s single claim against the Sullivans is without

merit and therefore the Sullivans were improperly joined.

      B.      The amount in controversy exceeds $75,000.00.

              1.      Plaintiff’s request for declaratory relief exceeds $75,000.00.

       17.     The amount in controversy exceeds the sum or value of $75,000.00. In the Fifth

Circuit, when declaratory or injunctive relief is sought, the amount in controversy is measured

by the value of the object of the litigation, and the value of that right is measured by the losses

that will follow. Webb v. Investacorp, Inc. 89 F.3d 252, 256 (5th Cir. 1996). Stated differently,


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“the amount in controversy, in an action for declaratory and injunctive relief, is the value of the

right to be protected or the extent of the injury to be prevented.” Leininger v. Leininger, 705

F.2d 727, 729 (5th Cir. 1983); see also Lamarr v. Chase Home Finance, LLC, 2008 WL

4057301 (N.D. Miss. 2008) (finding amount in controversy requirement was satisfied where

plaintiff sought to set aside foreclosure sale and home appraised for $83,000.00, plus

unspecified amount of monetary damages); Bank of America National Trust and Sav. Assoc. v.

Reeves, 1995 WL 96617, *1 (E.D. La. 1995) (court held that the amount in controversy was met

in action seeking to enjoin foreclosure on property because the suit “puts at issue the entire

value of the property on which they attempt to enjoin defendants from foreclosing.”).

        18.     Plaintiff seeks to declare that Defendants do not have standing to foreclose, that

Plaintiff is entitled to a release of the deed of trust and a declaration that he and his wife are sole

owners of the Property. (Pl’s Amd. Pet. at pp 6-7.)       As a result, Plaintiff has put an amount in

controversy equal to the value of the Property. The Tarrant County Central Appraisal District

most recent valuation of the Property shows a total assessed value of the Property at

$295,298.00. (Exhibits C, C-1.) For this reason alone, the amount in controversy exceeds

$75,000.00.

        19.     Defendants categorically deny that Plaintiff is entitled to an award of damages in

any amount, but there can be no question that Plaintiff’s Petition places an amount in

controversy that significantly exceeds $75,000.00.

                BASIS FOR REMOVAL: BANKRUPTCY JURISDICTION

        20.     Removal of the State Court Action to this Court is proper pursuant to 28 U.S.C.

Sections 28 U.S.C. §§ 1452(a) and 1334 because this State Court Action is related to Plaintiff’s

Bankruptcy Case.




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        21.     In the alternative, this case is removable to federal court because the claims are

“related to” the bankruptcy estate. “An action is ‘related to’ bankruptcy if the outcome could

alter, positively or negatively, the debtor’s rights, liabilities, options, or freedom of action or

could influence the administration of the bankruptcy estate.” Edge Petroleum Operating Co. v.

GPR Holdings, L.L.C. (In re TXNB Internal Case), 483 F.3d 292, 298 (5th Cir. 2007) (citing

Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 752 (5th Cir. 1995)).

        22.     By his claims, Plaintiff seeks to declare as void the substitute trustee’s deed.

(Pl’s Amd. Pet. at pp 11-12.). Because the rights to Plaintiff’s real estate is at stake, the

outcome of Plaintiff’s claims would have a significant effect on the bankruptcy estate.

                                              VENUE

        23.     Venue for removal is proper in this district and division, the United States

District Court for the Northern District of Texas, Fort Worth Division, under 28 U.S.C. Section

1441(a) because this district and division embrace the 96th District Court of Tarrant County,

Texas, the forum in which the removed action was pending.

                                              NOTICE

        24.     Pursuant to 28 U.S.C. Section 1446(d), a copy of this Notice is being filed with

the Clerk of Court for 96th District Court of Tarrant County, Texas.

        25.     The contents of Exhibit B constitute the entire file of Cause No. 096-295070-17

in the 96th District Court of Tarrant County, Texas.

                                          CONCLUSION

       For the reasons described above, Defendants respectfully request that this Court take

jurisdiction over this matter and proceed as if it had been originally filed herein.




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                                      Respectfully submitted,

                                      By:    /s/ Philip W. Danaher
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                                      FANNIE MAE AND SETERUS, INC.




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                               List of all Counsel of Record

Pro se Plaintiff:

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                        INDEX OF DOCUMENTS ATTACHED

Exhibit A    Copy of the Docket Sheet for Cause No. 096-295070-17 in the 96th Judicial
             District Court, Tarrant County, Texas;

Exhibit B    Pleadings in Cause No. 096-295070-17 in the 96th Judicial District Court, Tarrant
             County, Texas;

      B-1    Plaintiff’s Original Suit for Quiet Title, Trespass to Try Title and Declaratory
             Judgment, filed September 21, 2017

      B-2    Plaintiff’s Service Request Form, filed September 21, 2017;

      B-3    Defendant’s Original Answer, filed October 6, 2017;

      B-4    Notice of Hearing, filed October 20, 2017;

      B-5    First Amended Petition, filed on November 8, 2017;

      B-6    Return of Service Affidavit, filed on November 27, 2017;

      B-7    Original Answer, filed December 11, 2017


Exhibit C    Declaration of Philip W. Danaher;

       C-1   Print-out from the Tarrant County, Texas Central Appraisal District web-site on
             December 12, 2017; and

       C-2   Consent to Removal by Defendants Mark Sullivan and Adrienne Sullivan, signed
             on December 12, 2017




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was served in the
on this 12th day of December, 2017, upon the following in the manner described:

Via regular and certified U.S. Mail
Cary A. Zolman
668 Bear Creek Drive
Hurst, Texas 76054

Via ECF Notification
Craig C. Lesok
226 Bailey Ave, Ste 101
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E-Mail: craig@lesoklaw.com
Tel. (817) 882-9991
Fax. (817) 882-9993
                                                      /s/ Philip W. Danaher
                                                     PHILIP W. DANAHER




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